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 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                             CASE NO. S-96-00350-WBS
11
                 Plaintiff,
12
          v.                                               MOTION TO DISMISS INDICTMENT AND
13                                                         ORDER DISMISSING
      Jeanette Hong,                                       INDICTMENT
14
                 Defendant.
15
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            Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the United States of
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     America, by and through its undersigned attorney, hereby files this motion and proposed order
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     dismissing the indictment with prejudice against defendant Jeanette Hong.
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     DATED: October 6, 2014                             Respectfully submitted,
24
                                                        BENJAMIN B. WAGNER
25                                                      United States Attorney
26
                                                   By: /s/ William S. Wong
27                                                     WILLIAM S. WONG
                                                       Assistant U.S. Attorney
28
             Case 2:96-cr-00350-WBS Document 896 Filed 10/07/14 Page 2 of 2

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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11      UNITED STATES OF AMERICA,                  CASE NO. S-96-00350-WBS
12                Plaintiff,                        ORDER DISMISSING INDICTMENT
13          v.
14      JEANETTE HONG,
15                Defendant.
16

17
            APPROVED AND SO ORDERED. The indictment is hereby dismissed with prejudice as
18
     against defendant Jeanette Hong.
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     Dated: October 6, 2014
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